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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES - GENERAL

  Case No.     CV 18-5741-DMG (PLAx)                                  Date     March 27, 2020

  Title Lucas R., et al. v. Alex Azar, et al.


  Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                Kane Tien                                              Miriam Baird
               Deputy Clerk                                            Court Reporter

     Attorneys Present for Plaintiff(s)                      Attorneys Present for Defendant(s)
             Carlos Holguin                                      Scott G. Stewart, USDOJ
              Leecia Welch                                       August E. Flentje, USDOJ
            Holly S. Cooper
           Rebecca L. Tarneja
            Brenda L. Shum
              Daisy O. Felt
             Carter C. White
               Neha Desai
          Jonathan P. Mulligan

  Proceedings: PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY
               RESTRAINING ORDER AND ORDER TO SHOW CAUSE RE:
               PRELIMINARY INJUNCTION [227]

         The cause is called and counsel state their appearance via videoconference and telephone.
  The Court invites counsel to respond to the oral tentative ruling. Following oral argument, the
  Court advises counsel that the ex parte application shall be taken under submission and a written
  order will issue.




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  CV-90                              CIVIL MINUTES - GENERAL                 Initials of Deputy Clerk KT
